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EXHIBIT K
Case 3:21-cv-08458-LB Document 116-2 Filed 01/25/24 Page 2 of 11




                          In the
                          In the Matter
                                 Matter Of:
                                        Of:

                       JACKSON vs
                       JACKSON vs TARGET
                                  TARGET
                               3:21-cv-08458-LB
                               3:21-cv-08458-LB




                       BRYON U.
                       BRYON U. JACKSON
                                JACKSON

                             July 08,
                             July 08, 2022
                                      2022




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          Case 3:21-cv-08458-LB Document 116-2 Filed 01/25/24 Page 3 of 11

      BRYON U.
      BRYON  U. JACKSON
                JACKSON                                              July 08,
                                                                     July 08, 2022
                                                                              2022
      JACKSON vs
      JACKSON      TARGET
                vs TARGET                                                         11

                  UNI TED STATES
·1· · · · · · · · UNITED  STATES DISTRICT
                                 DI STRI CT COURT
                                            COURT
 Nk



                NORTHERN DISTRICT
·2· · · · · · · NORTHERN DI STRI CT OF
                                    OF CALIFORNIA
                                       CALI FORNI A

                     SAN FRANCISCO
                         FRANCI SCO DIVISION
                                    DI VI SI ON
 Ww




·3· · · · · · · · · ·SAN

·4
 ~~




     BRYON JACKSON,·
              JACKSCN,                Case No.
                                    ) Case No. 3:21-cv-08458-LB
 og




·5· ·BRYON                 · · · · )           3:21-cv-08458-LB
· · · · · · · · · · · · · · ·)      )
                    Plaintiff,      )
 oo




·6· · · · · · · Plaintiff,·        ·)
· · · · · · · · · · · · · · ·)      )
          VS.                       )
 NN




·7· · · ·vs.·     · · · · · · · ·)
· · · · · · · · · · · · · · ·)      )
     TARGET CORPORATION,·
·8· ·TARGET    CORPORATI ON,        )
                                 · ·)
 00




· · · · · · · · · · · · · · ·)      )
                    Def endant .
·9· · · · · · · Defendant.·         )
                                   ·)
 ©




· · ·________________________)
10
BR
PO




11

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15

16
16·      VI DEOCTAPED ZOOM
    · · ·VIDEOTAPED   ZOOM VIDEOCONFERENCE
                           VI DEOCCONFERENCE DEPOSITION
                                             DEPOSI TI ON OF
                                                          OF

17
17·                   BRYON URIAH
    · · · · · · · · · BRYON URI AH JACKSON
                                   JACKSON

18
18·                   ALAMEDA,
    · · · · · · · · · ALAMEDA, CALI FORNI A
                               CALIFORNIA

19
19·                       JULY 8,
    · · · · · · · · · · · JULY 8, 2022
                                  2022

20
20

21
21

22
22

23
23

24
24

25
25·  REPORTED BY:·
    ·REPORTED BY:  M CHAEL CUNDY,
                   MICHAEL CUNDY, CSR 12271
                                  CSR 12271


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                                                             800.211.DEPO    (3376)
                                                              EsquireSolutions.com
                                                             EsquireSolutions.com
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      BRYON U.
      BRYON  U. JACKSON
                JACKSON                                              July 08,
                                                                     July 08, 2022
                                                                              2022
      JACKSON vs
      JACKSON      TARGET
                vs TARGET                                                         2
                                                                                  2

                 DEPOSI TI ON OF
·1· · · · · · · ·DEPOSITION   OF BRYON
                                 BRYON URIAH
                                       URI AH JACKSON,
                                              JACKSON, taken
                                                       taken
 Pk



     at 1350
        1350 Marina
             Marina Village
                    Village Parkway,
                            Parkway, Suite 433,
                                           433, Al aneda,
 NN



·2· ·at                              Suite      Alameda,

     California, on Friday,
                    Friday, July 8,
                                 8, 2022, at 9:29
                                             9:29 A.M.,
                                                  AM,
 Ww




·3· ·California, on         July    2022, at

     bef ore Michael
             M chael Cundy, Certified Shorthand
                                      Shorthand Reporter,
                                                Reporter, in
 bp




·4· ·before          Cundy, Certified                     in

     and for
         for the State
                 State of California.
 oa




·5· ·and     the       of California.
 oo




·6

     APPEARANCES:
 NN




·7· ·APPEARANCES:

     | N PROPRIA
         PROPRI A PERSONA:
                  PERSONA:
 00




·8· ·IN

                       BRYON URIAH
·9· · · · · · · · · · ·BRYON   URI AH JACKSON
                                      JACKSON
 ©




                       (Vi a videoconference)
· · · · · · · · · · · ·(Via   videoconference)
                       1350 Marina
10· · · · · · · · · · ·1350   Marina Village
                                      Vill age Parkway
                                                   Par kway
 O




                       Suite 433
· · · · · · · · · · · ·Suite   433
                       Al aneda,
11· · · · · · · · · · ·Alameda,    California 94501
                                   California      94501
or
 =




                       (201)
· · · · · · · · · · · ·(201)   776-4282
                               776-4282
12
12·                    zaqwl478@ot     nai | . com
    · · · · · · · · · ·zaqw1478@hotmail.com

13
13·  FOR THE
    ·FOR THE DEFENDANT:
             DEFENDANT:

14
14·                    MANNI NG &
    · · · · · · · · · ·MANNING     & KASS
                                       KASS
                       ELLROD,
· · · · · · · · · · · ·ELLROD,     RAM REZ,
                                   RAMIREZ,      TRESTER LLP
                                                 TRESTER  LLP
15
15·                    BY:
    · · · · · · · · · ·BY:·   DAVI D V.
                              DAVID     V.   ROTH,
                                            ROTH,    ESQ
                                                     ESQ.
                       (Vi a videoconference)
· · · · · · · · · · · ·(Via   vi deoconf erence)
16
16·                    One California
    · · · · · · · · · ·One   California       Street
                                              Street
                       Suite 900
· · · · · · · · · · · ·Suite    900
17
17·                    San Francisco,
    · · · · · · · · · ·San   Francisco,       California
                                              California   94111
                                                           94111
                       (415)
· · · · · · · · · · · ·(415)    217-6990
                                217-6990
18
18·                    dvr @manni    ngl | p. com
    · · · · · · · · · ·dvr@manningllp.com

19
19·  ALSO PRESENT:
    ·ALSO PRESENT:

20
20·                    BRI AN KIELHACK
    · · · · · · · · · ·BRIAN  KI ELHACK
                       VI DEOGRAPHER
· · · · · · · · · · · ·VIDEOGRAPHER
21
21

22
22

23
23

24
24

25
25


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        BRYON  U. JACKSON
                  JACKSON                                              July 08,
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        JACKSON vs
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                  vs TARGET                                                        12
                                                                                   12

      |'mtrying
 ·1· ·I'm        to remember
          trying to renenber the
                             the exact.
                                 exact.
  Pe



          Q · You
 ·2· · · ·Q·  You don't
                  don't need
                        need to
                             to --
                                -- if
                                   if you
                                      you don't
                                          don't remember
                                                renenber
  DN




      t he exact
           exact address
                 address --
                         --
  Ww




 ·3· ·the
          A    Vell, I
                     | live
                       live in
                            in the
                               the East
                                   East Bay.·
                                        Bay.  I| was
                                                 was in
                                                     in the
                                                        the
  ~~




 ·4· · · ·A· · Well,
      East Bay
 ·5· ·East Bay for
               for about
                   about two
                         two years.
                             years.
  Oo




          Q · Okay.·
              Ckay.  And -- and
                            and do
                                do you
                                   you remember
                                       renenber what city
  oo




 ·6· · · ·Q·         And --                     what city
      you lived
          lived in
                in before
                   before then?
                          then?
  NN




 ·7· ·you
          A · It's
 ·8· · · ·A·  It's in
                   in Oakland.
                      Qakl and.
  00




          Q · In
 ·9· · · ·Q·  | n Oakland,
                  Cakl and, okay.·
                            okay.  That's great.·
                                   That's great.  That's
                                                  That's
  ©




      fine.
 10· ·fine.
  O
REE




               You can
                   can tell
                       tell me
                            ne if
                               if you
                                  you don't
                                      don't remember
                                            renenber the
                                                     the
  +»,




 11· · · · · · You
      exact address.·
 12· ·exact address.  I| wouldn't expect that
                         wouldn't expect that you
                                              you woul d.
                                                  would.
  WN
PPR




               And before
 13· · · · · · And before moving
                          noving to
                                 to the
                                    the East
                                        East Bay,
                                             Bay, where
                                                  where did
                                                        did
      you live?
          live?
  dM




 14· ·you
          A  · I| lived
                  lived in
                        in --
                           -- in
                              in New
                                 New Jersey --
  Oo




 15· · · ·A·                         Jersey --
RP




          Q · Okay.
              Ckay.
  OO




 16· · · ·Q·
FPP




          A    -- New
                  New Jersey.
  NN




 17· · · ·A· · --     Jersey.
              And how
          Q · And how long
                      long did
                           did you live in
                                        in New
                                           New Jersey?
                                               Jersey?
  00




 18· · · ·Q·                   you live
BP




 19· · · ·A· · I| lived
                  lived in
                        in New
                           New Jersey
                               Jersey for
                                      for about
                                          about --
                                                -- about
                                                   about 14
                                                         14
BP
  ©
  OO




 20· ·years.
NN




               Ckay.
 21· · · ·Q· · Okay.· Excellent.
                      Excellent.
  PB




               Coul d you
                      you describe
                          describe for
                                   for me
                                       me just generally your
                                                         your
  NN
ND




 22· · · · · · Could                      just generally
      education history?
                history?
  WOW
ND




 23· ·education
          A · I
              | have
                have a
                     a bachelor's
                       bachelor's in
                                  in --
                                     -- just a bachelor's
                                               bachelor's
ND




 24· · · ·A·                            just a
  A




      and an
          an MBA
             MBA two
                 two --
                     -- completed
                        conpleted two
                                  two undergraduate
                                      undergraduate degrees
                                                    degrees
NN
  oa




 25· ·and


        Z     ESQUIRE                                          800.211.DEPO (3376)
                                                               800.211.DEPO   (3376)
                                                               EsquireSolutions.com YVer1f
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        BRYON U.
        BRYON  U. JACKSON
                  JACKSON                                             July 08,
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                                                                               2022
        JACKSON vs
        JACKSON      TARGET
                  vs TARGET                                                       13
                                                                                  13

      wth an
 ·1· ·with an MBA
              MBA in
                  in finance,
                     finance, and I
                              and | completed
                                    conpleted an
                                              an
  Pe



      executive --
 ·2· ·executive -- an
                   an executive
                      executive leadership
                                |eadership program
                                           programat
                                                   at
  DN




      Har var d Business
                Busi ness School.
                          School .
  Ww




 ·3· ·Harvard
               And where did you
                             you obtain
                                 obtain your
                                        your BA?
                                             BA?
  ~~




 ·4· · · ·Q· · And where did
          A
 ·5· · · ·A· · I| --
                  -- the
                     the university
                         university --
                                    -- Fairleigh
                                       Fairleigh Dickinson
                                                 Dickinson --
                                                           --
  Oo




      Fairl ei gh Dickinson
                  Dickinson University.
                            University.
  oo




 ·6· ·Fairleigh
               Can you
                   you spell
                       spell that
                             that for
                                  for us?
                                      us?
  NN




 ·7· · · ·Q· · Can
               F-A-l-RL-E-I-GHDI-CK-SON
 ·8· · · ·A· · F-A-I-R-L-E-I-G-H               [sic].
                                 D-I-C-K-S-O-N [sic].
  00




               And where
 ·9· · · ·Q· · And       is that
                   where is that school
                                 school |ocated?
                                        located?
  ©




               Teaneck,
 10· · · ·A· · Teaneck, New Jersey.
                        New Jersey.
  O
REE




               All right.·
                   right.  And your MB,
                                    MB, same
                                        same school?
                                             school ?
  +»,




 11· · · ·Q· · All         And your
               The University
 12· · · ·A· · The University of
                              of --
                                 -- the
                                    the University
                                        University of
                                                   of
  WN
PPR




      Bri dgeport.
 13· ·Bridgeport.

          Q · And
              And both
                  both were in --
                               -- both
                                  both your
                                       your BA
                                            BA and
                                               and your
                                                   your MB
                                                        MB
  dM




 14· · · ·Q·           were in
      were in
           in finance?
              finance?
  Oo




 15· ·were
RP




          A    Well, the
                     the BA
                         BAis  in business
                                  business admin
                                           admn --
                                                 -- is
                                                    is in
                                                       in
  OO




 16· · · ·A· · Well,        is in
FPP




                management and
      busi ness management and accounting
                               accounting and
                                          and the
                                              the MBA,
                                                  MBA,
  NN




 17· ·business
                adm ni stration and
      busi ness administration  and finance.
                                    finance.
  00




 18· ·business
BP




          Q · Okay.·
 19· · · ·Q·  Ckay.  Thank you.
                     Thank you.
BP
  ©




               And when did you
                            you obtain
                                obtain your
                                       your bachelor
                                            bachelor --
                                                     -- your
                                                        your
  OO




 20· · · · · · And when did
NN




                -- your
      busi ness --
 21· ·business     your BA?
                        BA?
  PB




          A    That's in
                      in '95.
                         "95.
  NN
ND




 22· · · ·A· · That's

          Q · Okay.·
              Ckay.  And when did
                              did you
                                  you obtain
                                      obtain your
                                             your master's
                                                  master's
  WOW
ND




 23· · · ·Q·         And when
      degree?
ND




 24· ·degree?
  A




          A · '96.
              ' 96.
NN
  oa




 25· · · ·A·


        2 ESQUIRE                                             800.211.DEPO (3376)
                                                              800.211.DEPO   (3376)
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        BRYON U.
        BRYON  U. JACKSON
                  JACKSON                                             July 08,
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                                                                               2022
        JACKSON vs
        JACKSON      TARGET
                  vs TARGET                                                       80
                                                                                  80

      your feet,
 ·1· ·your feet, though?
                 though?
  Pe



          A
 ·2· · · ·A·   No, it
             · No, it wasn't hard enough
                      wasn't hard enough to
                                         to do
                                            do that,
                                               that, but
                                                     but it
                                                         it
  DN




      was enough
          enough to
                 to inflict
                    inflict damage
                            damage in
                                   in me,
                                      nme, bodily
                                           bodily harm.
                                                  harm
  Ww




 ·3· ·was
          Q · Have
              Have you
                   you ever
                       ever filed
                            filed a
                                  a lawsuit
                                    lawsuit any
                                            any point
                                                point in
                                                      in
  ~~




 ·4· · · ·Q·
      your life
 ·5· ·your life prior
                prior to
                      to this
                         this lawsuit?
                              lawsuit?
  Oo




          A    Yes.  I| file
                        file lawsuit
                             lawsuit before
                                     before if
                                            if -- if I feel
  oo




 ·6· · · ·A· · Yes.·
      t hat I was
              was --
                  -- I
                     | --
                       -- yes,
                          yes, I
                               | have.
                                 have.
  NN




 ·7· ·that
          Q · How
 ·8· · · ·Q·  How many
                  many lawsuits
                       | awsuits have
                                 have you
                                      you filed
                                          filed prior
                                                prior to
                                                      to
  00




      t hi s one
 ·9· ·this   one against
                 against Target?
                         Target?
  ©




          A · I
 10· · · ·A·  | have
                have never
                     never filed
                           filed any
                                 any lawsuit
                                     | awsuit against
                                              agai nst Target
                                                       Target
  O
REE




      bef ore.
  +»,




 11· ·before.
          Q · No.·
 12· · · ·Q·  No.  Prior to
                   Prior to this
                            this lawsuit
                                 lawsuit against
                                         against Target,
                                                 Target,
  WN
PPR




      how many
 13· ·how many other
               ot her lawsuits
                      lawsuits have
                               have you
                                    you filed?
                                        fil ed?
          A · I
              | have
                have had
                     had a
                         a situation
                           situation at
                                     at a
                                        a job
                                          job where
                                              where I|I was
                                                        was
  dM




 14· · · ·A·
      harassed by
               by an
                  an employee
                     enployee at
                              at --
                                 -- at
                                    at one
                                       one of
                                           of my
                                              ny clients,
                                                 clients,
  Oo




 15· ·harassed
RP




      Wel Is Fargo
             Fargo Bank.
                   Bank.
  OO




 16· ·Wells
FPP




          Q · And
              And where was that
                            that lawsuit
                                 lawsuit filed?
                                         filed?
  NN




 17· · · ·Q·      where was
          A · In
              In the
                 the state
                     state of
                           of San
                              San --
                                  -- in
                                     in the
                                        the state
                                            state of
                                                  of
  00




 18· · · ·A·
BP




      California.
 19· ·California.
BP
  ©




               What city?
                    city?
  OO




 20· · · ·Q· · What
NN




               It's probably
 21· · · ·A· · It's probably San
                             San Francisco.
                                 Francisco.
  PB




               Ckay.  And when
                          when was
                               was that
                                   that lawsuit
                                        lawsuit filed?
                                                filed?
  NN
ND




 22· · · ·Q· · Okay.· And
               It probably
                  probably was 2019.
  WOW
ND




 23· · · ·A· · It          was 2019.
               Is that
                  that lawsuit
                       lawsuit still
                               still pending?
                                     pending?
ND




 24· · · ·Q· · Is
  A




               It's possible,
                    possible, yes.
NN
  oa




 25· · · ·A· · It's           yes.


        2 ESQUIRE                                             800.211.DEPO (3376)
                                                              800.211.DEPO   (3376)
                                                              EsquireSolutions.com YVer1f
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        BRYON U.
        BRYON U. JACKSON
                  JACKSON                                              July 08,
                                                                       July 08, 2022
                                                                                2022
        JACKSON
        JACKSON  vs TARGET
                 vs TARGET                                                         82
                                                                                   82

      in this
 ·1· ·in this case,
              case, or were
                    or were you
                            you --
                                --
  Pe



               Yes, correct.·
 ·2· · · ·A· · Yes, correct.  That's correct.
                              That's correct.
  DN




               Ckay.  And who was
                              was the
                                  the defendant
                                      defendant in
                                                in that
                                                   that
  Ww




 ·3· · · ·Q· · Okay.· And who
  ~~




 ·4· ·case?
               It's probably
 ·5· · · ·A· · It's probably was American Express.
                             was American Express.
  Oo




               Ckay.  And what was
                               was that
                                   that case
                                        case about?
                                             about?
  oo




 ·6· · · ·Q· · Okay.· And what
               It was
                  was a
                      a case
                        case in
                             in which sonebody said
                                               said
  NN




 ·7· · · ·A· · It               which somebody
      sonet hing about
 ·8· ·something  about me
                       me in
                          in a
                             a job regarding my
                               job regarding ny --
                                                -- my
                                                   ny race
                                                      race
  00




      and --
 ·9· ·and -- and
             and that
                 that black
                      black people
                            people are
                                   are not
                                       not as
                                           as smart
                                              smart as
                                                    as or
                                                       or do
                                                          do
  ©




      not have
 10· ·not have the
               the capabilities
                   capabilities to
                                to perform
                                   performcertain  tasks.
                                           certain tasks.
  O
REE




               And I
                   | filed
                     filed a
                           a lawsuit.
                             lawsuit.
  +»,




 11· · · · · · And
               That was
 12· · · · · · That was the
                        the case
                            case in
                                 in which
                                    which --
                                          -- it
                                             it was
                                                was a
                                                    a
  WN
PPR




      | awsui t against
 13· ·lawsuit   agai nst American Express regarding
                         American Express regarding employee
                                                    enpl oyee
      saying --
             -- it
                it was against the
                               the company,
                                   conpany, sonething like
                                                      |like
  dM




 14· ·saying       was against              something
      that.  Sonebody said
                      said some
                           sone stupid
                                stupid things.
                                       things.
  Oo




 15· ·that.· Somebody
RP




               And I
                   | filed
                     filed a
                           a lawsuit
                             lawsuit against
                                     agai nst the
                                              the company.
                                                  conpany.
  OO




 16· · · · · · And
FPP




          Q · Were
              Were you
                   you represented
                       represented by
                                   by an
                                      an attorney
                                         attorney in
                                                  in that
                                                     that
  NN




 17· · · ·Q·
      | awsuit ?
  00




 18· ·lawsuit?
BP




               Ch, yes.
 19· · · ·A· · Oh, yes.
BP
  ©




          Q · Okay.·
              Ckay.  And who
                         who was
                             was your
                                 your --
                                      -- and
                                         and was
                                             was that
                                                 that the
                                                      the
  OO




 20· · · ·Q·         And
NN




      | awsuit --
 21· ·lawsuit  -- where was that
                  where was that lawsuit
                                 lawsuit filed?
                                         filed?
  PB




          A · I
              | think
                think it
                      it was
                         was in
                             in --
                                -- I| think
                                      think it
                                            it was in
  NN
ND




 22· · · ·A·                                   was in
      New Jersey
          Jersey or
                 or Connecticut.
                    Connecti cut.
  WOW
ND




 23· ·New

          Q · Okay.
ND




 24· · · ·Q·
  A




 25· · · ·A· · I -- I| can
                       can get
                           get the
                               the facts.·
                                   facts.  I| would have to
                                                         to go
                                                            go
NN
  oa




                                              would have


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        BRYON U.
        BRYON U. JACKSON
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                 vs TARGET                                                         83
                                                                                   83

      back and
 ·1· ·back and check,
               check, but
                      but it's
                          it's probably
                               probably --
                                        -- it's
                                           it's either
                                                either
  Pe



      bet ween New
 ·2· ·between  New Jersey
                   Jersey and
                          and --
                              -- or
                                 or New
                                    New York or Connecticut.
                                        York or Connecticut.
  DN




      It's --
           -- it's
              it's one.
                   one.
  Ww




 ·3· ·It's
          Q · Okay.·
              Ckay.  And do you
                            you remember
                                renmenber the
                                          the name
                                              nane of
                                                   of your
                                                      your
  ~~




 ·4· · · ·Q·         And do
      attorney?
 ·5· ·attorney?
  Oo




          A  · I| don't
                  don't remember,
                        renenber, but I
                                      | probably
                                        probably could
                                                 could get
                                                       get --
                                                           --
  oo




 ·6· · · ·A·                      but
 ·7· ·I| would
         would have
               have to
                    to go
                       go back
                          back and
                               and check
                                   check to
                                         to --
                                            -- just to be
                                                       be
  NN




                                               just to
      accurate.
 ·8· ·accurate.· I| --
                    -- I
                       | don't
                         don't remember
                               renenber the
                                        the name
                                            nane offhand,
                                                 of f hand, but
                                                            but
  00




 ·9· ·I| could
         could check
               check and
                     and give
                         give you
                              you that
                                  that information.
                                       information.
  ©




          Q · All
 10· · · ·Q·  All right.·
                  right.  Have you
                          Have     ever --
                               you ever -- have
                                           have you
                                                you ever
                                                    ever
  O
REE




      sued a
           a nonemployer,
             nonenpl oyer, like
                           like another
                                another store
                                        store or
                                              or restaurant
                                                 restaurant
  +»,




 11· ·sued
      or company,
 12· ·or conpany, for discrimination?
                  for discrimnation?
  WN
PPR




          A
 13· · · ·A· · I| don't
                  don't remember.·
                        renenber.  It's possible.·
                                   It's possible.  I| don't
                                                      don't
      remenber.
  dM




 14· ·remember.
          Q · Never
              Never sued
                    sued Starbucks
                         Starbucks before?
                                   before?
  Oo




 15· · · ·Q·
RP




          A    Starbucks, I| don't
                             don't remember.·
                                   remember.  I| don't
                                                 don't --
                                                       -- I
  OO




 16· · · ·A· · Starbucks,
FPP




      don't recall.
  NN




 17· ·don't recall.
          Q · Never
              Never sued
                    sued a
                         a Target
                           Target before?
                                  before?
  00




 18· · · ·Q·
BP




          A
 19· · · ·A· · I| don't
                  don't -- no,
                        -- no, I
                               | don't
                                 don't -- I
                                       -- | don't
                                            don't renenber.
                                                  remember.
BP
  ©




 20· ·I| don't
         don't think
               think so.
                     so.
  OO
NN




          Q · Have
 21· · · ·Q·  Have you
                   you ever
                       ever sued
                            sued a
                                 a McDonald's
                                   MDonal d's before?
                                              before?
  PB




          A · No,
              No, I
                  | don't
                    don't remember.·
                          renenber.  I| don't
                                        don't --
                                              -- I
                                                 | don't
                                                   don't
  NN
ND




 22· · · ·A·
      recall.  It's possible,
                    possible, but I
                                  I don't
                                    don't think
                                          think so.
                                                so.
  WOW
ND




 23· ·recall.· It's           but
          Q · Have
              Have you
                   you ever
                       ever sued
                            sued anyone
                                 anyone for
                                        for any
                                            any type
                                                type of
                                                     of
ND




 24· · · ·Q·
  A




      personal injuries prior
                        prior to
                              to your
                                 your lawsuit
                                      |awsuit against
                                              against Target
                                                      Target
NN
  oa




 25· ·personal injuries


        Z     ESQUIRE                                          800.211.DEPO (3376)
                                                               800.211.DEPO   (3376)
                                                               EsquireSolutions.com YVer1f
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        BRYON U.
        BRYON  U. JACKSON
                  JACKSON                                              July 08,
                                                                       July 08, 2022
                                                                                2022
        JACKSON vs
        JACKSON      TARGET
                  vs TARGET                                                        84
                                                                                   84

      that we're
 ·1· ·that we're here
                 here for
                      for today?
                          today?
  Pe



          A
 ·2· · · ·A· · I| don't
                  don't recall,
                        recall, no.
                                no.· I| don't
                                        don't recall.
                                              recall.
  DN




          Q · A
              A couple
                couple more
                       nore admonitions
                            adnonitions I'm
                                        I'm going
                                            going to
                                                  to give
                                                     give
  Ww




 ·3· · · ·Q·
      you just so you
                  you are
                      are aware
                          aware is
                                is that,
                                   that, at
                                         at the
                                            the conclusion
                                                conclusion
  ~~




 ·4· ·you just so
      of this
 ·5· ·of this deposition,
              deposition, you will
                          you will have
                                   have an
                                        an opportunity
                                           opportunity to
                                                       to
  Oo




      review the
             the transcript
                 transcript to
                            to this.
                               this.
  oo




 ·6· ·review
          A    Yes.
  NN




 ·7· · · ·A· · Yes.
          Q · You
 ·8· · · ·Q·  You will al so have
                  will also  have an
                                  an opportunity
                                     opportunity to
                                                 to make
                                                    nake
  00




      changes to
 ·9· ·changes to the
                 the transcript
                     transcript that
                                that you
                                     you think
                                         think are
                                               are
  ©




      necessary.
 10· ·necessary.
  O
REE




               |" m going
                    going to
                          to caution
                             caution you
                                     you that
                                         that any
                                              any changes
                                                  changes you
                                                          you
  +»,




 11· · · · · · I'm
      do make
 12· ·do make I
              I will
                will be
                     be aware
                        aware of
                              of those
                                 those changes
                                       changes --
                                               --
  WN
PPR




          A · Okay.
 13· · · ·A·  Ckay.
          Q · --
              -- and
                 and I
                     | can
                       can comment
                           comment to
                                   to the
                                      the judge or the
                                                   the jury
  dM




 14· · · ·Q·                              judge or     jury
      in this
         this lawsuit
              |awsuit about
                      about those
                            those changes
                                  changes to
                                          to impugn
                                             inpugn either
                                                    either
  Oo




 15· ·in
RP




      your credibility
           credibility or
                       or your
                          your memory
                               nmenory --
                                       --
  OO




 16· ·your
FPP




          A · Okay.
              Ckay.
  NN




 17· · · ·A·
              -- if
          Q · --    you do
                 if you    make particularly
                        do make              any
                                particularly any
  00




 18· · · ·Q·
BP




      substantive changes.·
 19· ·substantive changes.  GCkay?
                            Okay?
BP
  ©




          A · Okay.
              Ckay.
  OO




 20· · · ·A·
NN




               MR ROTH:·
 21· · · · · · MR. ROTH: But what
                         But what I
                                  | would like to
                                    would like to do
                                                  do is
                                                     is
  PB




      take a
           a five-minute
             five-mnute break
                         break --
                               --
  NN
ND




 22· ·take
               THE WITNESS:·
                   W TNESS:  Yes.
  WOW
ND




 23· · · · · · THE           Yes.
               MR ROTH:·
                   ROTH  -- and
                            and --
                                -- and
                                   and then
                                       then I
                                            I will finish
ND




 24· · · · · · MR.       --                   will finish
  A




      up this
         this deposition.·
              deposition.  Ckay?
NN
  oa




 25· ·up                   Okay?


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                                                               800.211.DEPO   (3376)
                                                               EsquireSolutions.com YVer1f
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      BRYON
      BRYON U.  JACKSON
            U. JACKSON                                               July
                                                                     July 08, 2022
                                                                          08, 2022
      JACKSON
      JACKSON  vs  TARGET
               vs TARGET                                                        95
                                                                                95

     STATE OF
·1· ·STATE  OF CALIFORNIA·
               CALI FORNI A                 )
                               · · · · · · ·)
 Pk


· · · · · · · · · · · · · · · · · · · ·)·   ) SS:
                                              SS:
     CI TY AND
           AND COUNTY
               COUNTY OFOF SAN
                            SAN FRANCISCO·
                                 FRANCI SCO )
 NN



·2· ·CITY                                   )
 Ww




·3

                       I, Michael
                          Mchael  Cundy, CSR No.
                                             No. 12271, a
 bp




·4· · · · · · · · · · ·I,         Cundy, CSR     12271, a

     Certified Shorthand
               Shorthand Reporter
                         Reporter of the
                                     the State
                                         State of
                                               of
 oa




·5· ·Certified                    of

     California, do hereby
                    hereby certify:
                           certify:
 oo




·6· ·California, do

                       That the foregoing
                                foregoing proceedings
                                          proceedings were
 NN




·7· · · · · · · · · · ·That the                       were

     taken before
           before me
                  ne at
                     at the
                        the time
                            tine and
                                 and place
                                     place herein
                                           herein set
                                                  set
 00




·8· ·taken

     forth;
·9· ·forth; that
            that any witnesses
                 any witnesses in the
                               in the foregoing
                                      foregoing
 ©




     proceedi ngs,
10· ·proceedings,  prior
                   prior to testifying,
                         to testifying, were placed
                                        were placed under
                                                    under
 O




     oath;
11· ·oath; that
           that a verbatim
                a verbatimrecord  of the
                           record of the proceedings
                                         proceedings was
                                                     was
or
 =




12
12·  made by
    ·made by me
             ne using
                using machine
                      machine shorthand
                              shorthand which
                                        whi ch was
                                               was

13
13·  thereafter
    ·thereafter transcribed
                transcribed under
                            under ny direction;
                                  my direction; further,
                                                further,

14
14·  that
    ·that the foregoing
          the foregoing is
                        is an
                           an accurate
                              accurate transcription
                                       transcription

15
15·  t her eof .
    ·thereof.

16
16·                    I further
    · · · · · · · · · ·I further certify that
                                 certify that | am
                                              I am neither
                                                    neither

17
17·  financially
    ·financially interested in
                 interested in the
                               the action
                                   action nor
                                          nor a relative
                                              a relative or
                                                         or

18
18·  enpl oyee of
    ·employee  of any
                  any attorney
                      attorney or
                               or any
                                  any of
                                      of the
                                         the parties.
                                             parties.

19
19·                    IN WITNESS
    · · · · · · · · · ·IN WTNESS WHEREOF,
                                  WHEREOF, | have
                                           I have this
                                                  this date
                                                       date

20
20·  subscri bed my
    ·subscribed  ny name.
                    nane.

21
21

22
22·  Dated:
    ·Dated:· July 13,
             July 13, 2022
                      2022

23
23

24
24· · · · · · · · · · · · · ____________________________
                            M chael
· · · · · · · · · · · · · · Michael Cundy,
                                    Cundy, CSR No.
                                           CSR No. 12271
                                                   12271
25
25



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